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U.S. Bankruptcy Court
Middle District of Florida
In re: Bankruptcy Case No. 9:19-bk-05580-FMD
LOUIS ALAN MAIER
Debtor

Adversary Proceeding No. 9:19-ap—00399-FMD
ROBERT E TARDIF, JR.
Plaintiff

Vv.
RENEE MAISTO
Defendant

SUMMONS IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the
Bankruptcy Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall

submit a motion or answer to the complaint within 35 days of issuance.

 

Address of Clerk
Clerk, U.S. Bankruptcy Court
Middle District of Florida
Sam M. Gibbons Federal Courthouse
801 N. Florida Ave. Suite 555
Tampa, FL 33602

At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

 

 

Name and Address of Plaintiff's Attorney

Robert E. Tardif, Jr.
Post Office Box 2140
Fort Myers, FL 33902

If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

 

 

 

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY
OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR
THE RELIEF DEMANDED IN THE COMPLAINT.

  

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*** Important Notice *** Clerk, U.S. Bankruptcy Court
The enclosed Certificate of Service must be filed with the court along with a copy of this summons after service

has been made on the parties.

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CERTIFICATE OF SERVICE
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I, & dhbert L.-T ard dF Tr. lr certify that I am, and at all times during the service of process was,

 

(name)
not less than 18 years of age and not a party to the matter concerning which service of process was made.
I further certify that the service of this summons and a copy of the complaint and a copy of Local Rule 7001-1
was made_¥ by:
(date)

YM Mail Service: Regular, first class United States mail, postage fully pre-paid, addressed to:

Kenee (Nacsto David Finemau CS9,

G2 Urestmuster St. (436 Royal Palin Sa, Blvd.
Rochester WY I%¥L0T7 ft. Myers, FL I3 GG
[_] Personal Service: By leaving the process with defendant or With an officer or agent of defendant at:

CL] Residence Service: By leaving the process with the following adult at:

Cc Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail
addressed to the following officer of the defendant at:

LJ Publication: The defendant was served as follows: [Describe briefly]

[_] State Law: The defendant was served pursuant to the laws of the State of

 

as follows: [Describe briefly] (name of state)

Under penalty ofperjury, I declare that the foregoing is true and correct.

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Date * Si gnatire \

 

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